                                      ATTACHMENT A
                                   STIPULATION OF FACTS

        The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

       The defendant, Sidhartha Kumar Mathur, is a 35 year old resident of Howard County,
Maryland. The person identified as “Representative A” was a member of the United States House
of Representatives.

        On December 10, 2020, at 5:43 p.m., Mathur used his iPhone to submit a threatening
message to the webmail submission form on Representative A’s official Congressional website.
The threat read: “I will fucking kill you and blow up your office if you try to take my vote away.
I know where you and your family lives. You will be ended. You’re a fucking animal that needs
to be tortured and skinned alive.” Mathur submitted contact information in connection with the
message, including the name of “Individual B,” a former neighbor and classmate of Mathur, and
a Howard County residential address where Individual B had previously resided. The threat was
submitted using the internet service at Mathur’s residence.

        On December 10, 2020, at 5:45 p.m., Mathur used his iPhone to leave a threatening phone
message on the voicemail for Representative A’s District Office. In the threating voicemail,
Mathur said: “Yeah, this is regarding the 106th Republican house members in support of Texas’s
bid to overturn the election. I just want to say, I'm going fucking to kill you. If you even mess with
my vote, I’m going to come and I’ll slit your throat and I’ll kill your family. Okay. You shut, you
fucking, don't touch my vote. You represent me. I’ll kill you.” The phone number used to place
the call was registered in Mathur’s name at his residence.

       On December 11, 2020, Special Agents of the United States Capitol Police interviewed
Mathur at his residence. Mathur confirmed that the phone number used to place the threatening
call belonged to him and the he had called Representative A’s office and left a message out
of anger. Mathur stated that he may have taken his statements too far. Mathur stated that he
would never harm anyone and he apologized for his statements. Mathur stated that he did “take
the threat seriously that my vote is going to be taken away” and that he made his
preconditions clear, but was not considering actually acting on his voicemail threat.




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